Case 19-33636-KLP              Doc 133    Filed 10/28/20 Entered 10/28/20 15:57:30   Desc Main
                                         Document      Page 1 of 2



 Leonard E. Starr III - VSB #9203
 LEONARD STARR PC
 P. O. Box 468
 119 W. Williamsburg Road
 Sandston, VA 23150
 Tel 804 737-5216
 Fax 804 737-8185
 LStarr@Starr-Law.com
 Co-Counsel for Debtor
                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                               Richmond Division

 In re


          DOUGLAS RAY CORNELL JR.                                    Case No. BK 19-33636-KLP

                                                                      Chapter 7
                                                                      Case Filed: 7/12/2019
                                                                      SSN: xxx-xx-1979

                                         NOTICE OF WITHDRAWAL
 Successor counsel having made an appearance, comes now Leonard E.
 Starr III, co-counsel for debtor, and gives notice of his Withdrawal
 as counsel for the debtor in this case.


                                                 LEONARD E. STARR III

                                                 /s/ Leonard E. Starr III
                                                 ____________________________
                                                 By Counsel

 October 28, 2020

 Leonard E. Starr III Esquire               VSB #9203
 Leonard Starr PC
 P. O. Box 468
 119 W. Williamsburg Road
 Sandston, Virginia 23150
 Tel 804 737-5216
 Fax 804 737-8115
 LStarr@Starr-Law.com
 (Counsel for Debtor)

                                             PROOF OF SERVICE

 I hereby certify that on October 28, 2020, I served as indicated below a true copy
 of the foregoing.

                                                                          Cornell 19-33636-KLP

 Ver 10/28/2020 0800                         Page 1 of 2                  Chapter 7
                                                                          Notice Attorney Withdrawal
Case 19-33636-KLP      Doc 133    Filed 10/28/20 Entered 10/28/20 15:57:30   Desc Main
                                 Document      Page 2 of 2



                                         /s/ Leonard E. Starr, III
                                         ____________________________
                                         Leonard E. Starr, III

 Kevin A. Lake, Esq.                              John P. Fitzgerald, III, U.S. Trustee
 MCDONALD, SUTTON & DUVAL, PLC                    Office of the U.S. Trustee - Region 4-R
 5516 Falmouth Street, Suite 108                  701 E. Broad Street, Ste. 4304
 Richmond, VA 23230                               Richmond, VA 23219
 klake@mcdonaldsutton.com                         Via ECF
 Counsel for Trustee
 Via ECF                                          Douglas Ray Cornell Jr.
                                                  Email
 Bruce E. Robinson, Trustee
 PO Box 538
 South Hill, VA 23970-0538
 Via ECF




                                                                  Cornell 19-33636-KLP

 Ver 10/28/2020 0800                 Page 2 of 2                  Chapter 7
                                                                  Notice Attorney Withdrawal
